I can not concur in the conclusion of the majority that it appears conclusively, as a matter of law, from the evidence that the death of the insured was caused by her own act and was suicide, and that the verdict for the plaintiff is without evidence to support it. While it may be conceded that the evidence very strongly tends to establish the conclusion as a fact that the death of the insured was caused by her act in taking strychnine, and that I would draw the conclusion therefrom that the insured did commit suicide, I can not bring my mind to the conclusion that a jury could not, with reason, conclude that the defendant had not to the jury's satisfaction carried the burden resting upon it to show that the insured committed suicide. Under no theory could it be inferred that the insured committed suicide other than by taking strychnine into her stomach. There is no direct or positive evidence whatsoever that the insured took strychnine. The nearest to positive and direct testimony that the insured took strychnine and that her death was caused therefrom is the testimony of the attending physician, Dr. McKinney, that her death was produced by strychnine poisoning. This was the doctor's diagnosis and opinion, as he stated in his testimony. He stated that he came to this opinion from symptoms which he described. The only evidence tending to show that the deceased had possessed any strychnine was that of witnesses to the effect that after her *Page 573 
death strychnine was found in a bottle in a room where the insured lived across from the telephone exchange where she was when she died, and that a bottle containing some strychnine was found in her purse. These witnesses, except perhaps a druggist, who was one of the witnesses, testified as to the substance in the bottles being strychnine, as a conclusion drawn from the labels upon the bottles. The druggist testified, without reference to how his knowledge was acquired, that the bottle which was found in the insured's purse contained strychnine. It also appears from his testimony that before the death of the insured she had attempted to purchase from him some strychnine which she stated that she desired to use to kill something that was bothering her chickens. There appear from the evidence many extrajudicial statements of various witnesses, including the statement of the plaintiff to the effect that the insured's death was suicide and caused from strychnine poisoning. None of these statements have any conclusive probative value. In fact all of them are hearsay and have no value whatsoever, with the possible exception of the statement to the above effect, made extrajudicially by the plaintiff. The effect of such statement is no more than an admission the probative value of which would be for the jury. It certainly does not establish conclusively the fact of suicidal death by strychnine poisoning.
The authenticity of letters, the contents of which were in evidence, purporting to have been written by the deceased, and which it is contended authorized the inference that the insured committed suicide, were established only by inference. Their contents, even if established as being statements made by the insured evincing a suicidal intent, do not conclusively establish the fact of suicide. At best the contents of such letters are mere circumstances which, when taken with other circumstances in the case, might have some probative value with the jury. This is also true as respects any other statements or acts of the deceased which might be in evidence, tending to show a suicidal intent. While it is true, as stated in the majority opinion, that the legal presumption against suicide vanishes upon the introduction of evidence of facts and circumstances tending to show the cause of the death, the fact upon which the presumption rests, which is that a person loves life better than death, may be considered by the jury to all intents and purposes as if it were an evidentiary fact. Such fact is not eliminated *Page 574 
from evidence and as having probative value for consideration by the jury until the evidence absolutely and conclusively establishes suicide and thereby destroys any probative value which the fact that a person loves life better than death may have as tending to establish the fact that the death was not suicidal. I do not think the probative value of this fact has, in view of the fact that there is no positive proof that the death of the insured was caused from suicide or from taking strychnine poison, been eliminated, but that the inference that the death of the insured was so caused is only derived from circumstances. See in this connectionNew York Life Insurance Co. v. Ittner, 59 Ga. App. 89,92 (200 S.E. 522); New York Life Insurance Co. v.King, 28 Ga. App. 607, 610 (112 S.E. 383); PilotLife Insurance Co. v. Wise, 48 Ga. App. 540 (173 S.E. 252). I am therefore of the opinion that the evidence does not demand a finding that the death of the insured was the result of suicide from her having taken strychnine, and a ruling that the verdict for the plaintiff was not authorized, but that a verdict for the defendant was demanded. I am of the opinion that the verdict for the plaintiff was authorized, and that, as indicated by the majority opinion, no error of law otherwise appears. I am of the opinion that the judgment should be affirmed.